                          Case 17-15088       Doc 1-1    Filed 04/12/17     Page 1 of 1

                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF MARYLAND
                                         at Baltimore
                                 In re:   Case No.: 17−15088 − DER     Chapter: 13

Robert S Siegal
Debtor

                      NOTICE OF DEADLINE FOR FILING MISSING DOCUMENT

DOCUMENT:                                        Voluntary Petition

PROBLEM:                                         The following pleadings are missing.

CURE:                                            All of these pleadings must be filed by the date shown below.

                                                 Schedules A/B−J due 04/26/2017
                                                 Ch 13 Plan & Cert of Service due 04/26/2017
                                                 Stmt. of Fin. Affairs due 04/26/2017
                                                 Declaration for Schedules due 04/26/2017
                                                 Summary of Assets and Liab. due 04/26/2017
                                                 Ch 13 Income Form 122C−1 due 04/26/2017

CONSEQUENCE:                                     If the problem is not cured by the date below,
                                                 YOUR CASE WILL BE DISMISSED WITHOUT A
                                                 HEARING.

This notice is issued pursuant to:               11 U.S.C. § 521
                                                 Federal Rule of Bankruptcy Procedure 1007
                                                 Federal Rule of Bankruptcy Procedure 3015(b)

All deficiencies must be cured by 4/26/17.

Additional information for non−attorney filers is available at
http://www.mdb.uscourts.gov/content/no−attorney


Dated: 4/12/17
                                                 Mark A. Neal, Clerk of Court
                                                 by Deputy Clerk, Mary Burkhart
                                                 410−962−4372
cc:   Debtor
      Attorney(s) for Debtor − Joseph Michael Selba

Form ntcddl (03/05)
